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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3014-1
                                         )
             Plaintiff,                  )
                                         )           MEMORANDUM
vs.                                      )           AND ORDER
                                         )
GILBERTO ZUNIGA,                         )
                                         )
             Defendant.                  )

      Pursuant to the bond assignment submitted by the defendant (filing 20),

      IT IS ORDERED that the motion to release bond (filing 72) to the law firm of
Berry & Kelly is granted. The Clerk of Court shall remit the proceeds of Mr. Zuniga’s
bond to the law firm of Berry & Kelly.

      September 13, 2005.                    BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
